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                                             Attachment 1
                                           Complaint Form
                                   In the United Sates District Court

                         For the                    District of



(Full name of Plaintiff(s))

Derrell Nicholas Jones

VS

Geico
Progressive                                              19 CV 570 BBC
A. Parties

1. Plaintiff is a citizen of Wisconsin and resides at 4520 Jenewein Rd, Fitchburg Wisconsin,
53711.
2.      Geico is a corporation in Chevy Chase, Maryland 20815

        Progressive Auto insurance Mayfield Ohio

B. Statement of Claim
Geico did, in fact, Conspire with Progressive auto insurance to make the decision to find me at
fault and pay out a claim by way of an Arbitration agreement. Geico and Progressive did
discriminate against me because of my race; African American and criminal background to make
the decision that I was at fault for an auto accident.
The accident took place in West Memphis Arkansas on September 16, 2016, in a strip mall
parking lot on West Broadway.
 Geico and Progressive unethically used the Arbitration Agreement process to illegally find me at
 fault. The Arbitration Agreement process decision making was in the best interest of both
 companies and was not ethical or legal.
  Geico - Attempting to switch insurance companies would cause Derrell Jones insurance rates to
 increase because there would be a claim paid out on Derrell Jones Insurance Policy. Geico would
 not find me at fault in their records and keep my insurance rates about the same. This strategy
 would significantly increase Geico chances of keeping me as a customer. Competitor rates would
 tremendously higher because Compteditior would see a claim paid out on Derrell Jones policy.
 Trapping Derrell Jones to stay with Geico.
 Progressive- Benefit because Derrell Jones would be at fault and Progressive Auto Insurance
 would not have to pay out insurance claims.
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Geico and Progressive did not allow me to take my claim to court and go before a Judge and
have both sides heard fairly before an unbiased Judge in a court of law.

Derrell Jones requested repeatedly between the dates on September 2016 to December 2016.
Derrell Jones was only interested in a trial and would not admit to fault in any way shape or
form.

In September 2016 Progress did, in fact, use illegal high-pressure integration tactic to intimidate
Derrell Jones to admit to fault as well as speaking to Derrell Jones with more aggression because
he is African American.

 Arbitration Agreement is a violation of Human rights and takes away a person's ability to
choose freely to have a trail. Insurances companies cannot collude with each other as
Government officials to find polices holder at fault by way Arbitration Agreements for the
reason being Insurance companies will make decisions that are in their own best interests.
Furthermore, Insurance Companies proceed with Arbitration Agreement without polices holders
present or knowldge. Forcing polices holder to participate in Arbitration Agreements is a
violation of the United states constutition and consumer protection Laws.
Relief Wanted
I Derrell Nicholas Jones requesting a trial with jury members. Also, Government Official with
the highest intelligent levels and a sound and logical understanding of the law in general. To
understand how my claims against:

   •   Geico
   •   Progressive
injustice is sound and without flaw and/or prejudices.
This claim is a violation of Federal Law and I am seeking damages in the amount of $150
million USD and the removal of all claims that place me at fault from my driving record.


July 11,2019
  spectfully


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Jones.derrell@yahoo.com
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